Case 2:21-cv-00177-SRB Document 74-6 Filed 06/30/22 Page 1 of 2




                     Exhibit
                       5
                            Case 2:21-cv-00177-SRB Document 74-6 Filed 06/30/22 Page 2 of 2




Dennis M. Cariello

From:                                   Dennis M. Cariello
Sent:                                   Friday, May 18, 2018 9:54 PM
To:                                     Mangold, Donna
Cc:                                     Jonathon C. Glass (jglass@cooley.com)
Subject:                                Request for Pre-Acquisition Review of a Proposed Change in Ownership - Grand Canyon and Gazelle: Email 1
                                        of 5
Attachments:                            Response to May 17 2018 DOE Letter (May 18 2018).docx; #1.zip


Dear Donna:

I hope all is well. I am responding to your May 17, 2018 letter with the additional information that you requested regarding the Department’s pre-
acquisition review on the proposed Grand Canyon and Gazelle transaction. Attached hereto is a narrative response to each request. I’ve also annexed
the documentary response to the first inquiry as well (the zip folder noted #1). I will send the additional documents in attachments of less than 20
megabytes per email. This is the first of five emails. If you do not get 5 emails, please let me know which one(s) you are missing. I have numbered
each email “1 of 5”, etc. Jonathan and I can walk you through this on Monday morning if you like.

Also, I have purposefully left Mike off this exchange in the event that the totality of the emails overloads your email box (I recall that happening in the
past). If I get an error message, I will send the faulty emails to Mike so the Department has all of the requested information.

As always, thanks for your consideration of this. Please let us know as soon as possible if you need any additional information. Have a great weekend.


Dennis



Dennis M. Cariello
Shareholder




E-MAIL        DENNIS.CARIELLO@HMBR.COM
MAIN          21 2.422.4900
DIRECT        21 2.422.4909
MOBILE        646.41 5.4471
FAX           31 2.946.981 8

              40 BROAD STREET • 7 TH FLOOR • NEW YORK, NY 1 0004
              WWW.HMBR.COM

Visit our Higher Education Blog: www.higheredlawblog.com
NOTICE OF CONFIDENTIALITY: This e-mail message is for the sole use of the intended recipient(s) and may contain confidential and privileged information. Any unauthorized
review, use, disclosure or distribution of any kind is strictly prohibited. If you are not the intended recipient, contact the sender via reply e-mail and destroy all copies of the original message.



______________________________________________________________________
This email has been scanned by the Symantec Email Security.cloud service.
For more information please visit http://www.symanteccloud.com
______________________________________________________________________




                                                                                              AR-J-0106
